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                        IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA


ALLIANCE FOR RETIRED
AMERICANS, et al.,

                       Plaintiffs,
                                                        Case No. 1:25-cv-00313-CKK
               v.

SCOTT BESSENT, in his official capacity
as Secretary of the Treasury, et al.,

                       Defendants.


 DEFENDANTS’ SUPPLEMENTAL MEMORANDUM REGARDING THE GENERAL
         RULE REQUIRING ADMINISTRATIVE RECORD REVIEW

       Defendants submit this supplemental memorandum as directed by the Court’s February 18,

2025 Order, ECF No. 27. For the reasons discussed below, the Court may, and should, decide

Plaintiffs’ motion for a preliminary injunction based on the parties’ filings to date, and Defendants

respectfully submit that an administrative record is not required to resolve Plaintiffs’ motion.

       First, Defendants have asserted threshold arguments that, if resolved in Defendants’ favor,

would mean that the Court lacks jurisdiction to hear Plaintiffs’ claims. Specifically, for the reasons

stated in Defendants’ opposition brief, Plaintiffs lack standing because neither they nor their

members have suffered injury in fact. See Defs.’ Mem. in Opp’n to Pls.’ Mot. for Prelim. Inj.,

ECF No. 24 (“Defs.’ Mem.”). Moreover, there is no waiver of sovereign immunity for the Court

to grant relief to Plaintiffs, because they have not identified any final agency action and because

adequate alternate remedies preclude APA review. See id. at 13-20. Defendants intend to move

to dismiss Plaintiffs’ claims based on those arguments pursuant to Federal Rule of Civil Procedure

12(b)(1) and (b)(6) after the Court’s determination of Plaintiffs’ motion for preliminary injunction.
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       At this stage of the litigation, and considering Defendants’ threshold arguments, which are

distinct from the underlying merits of Plaintiffs’ claims, the Court need not, and should not, require

production of an administrative record. Where, as here, there are threshold arguments that would

eliminate the need for examination of an administrative record, the Court should first resolve those

threshold issues. See In re United States, 583 U.S. 29, 32 (2017) (per curiam) (vacating and

remanding to the district court with instructions to rule on the government’s threshold arguments

regarding jurisdiction and reviewability under the APA before ordering completion of an

administrative record); see also Am. Bankers Ass’n v. Nat’l Credit Union Admin., 271 F.3d 262,

266-67 (D.C. Cir. 2001) (rejecting argument that district court erred in refusing to compel

production of the administrative record before deciding motion to dismiss). Indeed, because the

Court’s jurisdiction is in question, the Court should first assure itself of the power to decide

Plaintiffs’ claims before requiring Defendants to take any further steps, including the compilation

and production of an administrative record. See Attias v. Carefirst, Inc., 865 F.3d 620, 624 (D.C.

Cir. 2017) (“When a court lacks subject-matter jurisdiction, it has no authority to address the

dispute presented. . . . Thus, in the ordinary case, a dismissal for lack of subject-matter jurisdiction

ends the litigation and leaves nothing more for the court to do.”).

       Second, because there is no final agency action for Plaintiffs to challenge, see Defs.’ Mem.

at 13-15, there is no administrative record underlying the disputed issues. Indeed, the nebulous

scope of Plaintiffs’ challenge makes it unclear what the scope of any administrative record would

be. Moreover, in part because there is no final agency action to challenge here, many relevant

documents are likely to be deemed deliberative and therefore would not be part of the

administrative record, even if one were ordered to be compiled. See Omaha, Inc. v. Ross, 920 F.3d

855, 865 (D.C. Cir. 2019). The declarations Defendants filed in support of their opposition to



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Plaintiffs’ preliminary injunction motion, on the other hand, are detailed and provide the Court

with ample non-privileged information to evaluate the threshold issues in this case, as well as

Plaintiffs’ likelihood of the success on their underlying claims. They are also entitled to a

presumption of good faith. See F.T.C. v. Invention Submission Corp., 965 F.2d 1086, 1091 (D.C.

Cir. 1992). Plaintiffs too filed declarations in support of their motion, which are also part of the

record before the Court that may be properly considered for purposes of their preliminary

injunction motion. See ECF Nos. 8-2 through 8-4 and 16-2 through 16-8.

       Under these circumstances, it is appropriate for the Court to decide Plaintiffs’ preliminary

injunction motion based on the parties’ filings to date, and the Court should defer deciding whether

to require an administrative record until after Defendants have had the opportunity to move to

dismiss. See Cobell v. Babbitt, 91 F.Supp.2d 1, 38 (D.D.C. 1999) (“Extrinsic evidence is

appropriate for consideration when the processes utilized and factors considered by the

decisionmaker require further explanation for effective review.” (internal quotation marks

omitted)).

       Finally, Defendants note that two other Courts in this District have recently rejected

attempts to obtain injunctive relief in other cases challenging DOGE-related access to agency

records without the submission of an administrative record. See Mem. Op. & Order, Am. Fed’n of

Labor & Congress of Indus. Orgs. v. Dep’t of Labor; No. 25-cv-339 (JDB) (D.D.C. Feb. 14, 2025),

ECF No. 34 (denying motion for temporary restraining order for failure to establish likelihood of

success on the merits, including a substantial likelihood of standing); Mem. Op. & Order, Univ. of

Cal. Student Ass’n v. Carter, No. 25-cv-354 (RDM) (D.D.C. Feb. 17, 2025), ECF No. 20 (denying

motion for temporary restraining order because the plaintiffs failed to establish irreparable harm);

see also Mem. Op. & Order, State of New Mexico v. Musk, No. 25-cv-429 (TSC) (D.D.C. Feb. 18,



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2025), ECF No. 29 (denying motion for temporary restraining order in the context of an

Appointments Clause challenge).          Those decisions underscore the conclusion that an

administrative record is not required at this stage of the litigation, and that the Court can consider

the extra-record evidence submitted by the parties when ruling on Plaintiffs’ motion for a

preliminary injunction.



Dated: February 19, 2025                         Respectfully submitted,

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